Case: 1:22-cv-00125 Document #: 703-13 Filed: 05/28/24 Page 1 of 9 PageID #:16030




                        Exhibit F
     Case: 1:22-cv-00125 Document #: 703-13 Filed: 05/28/24 Page 2 of 9 PageID #:16031




If you are a member of the Settlement Class, you must submit a valid and timely claim to get
  money from the Settlement Fund. This is the only way to get money from the Settlements.
                                       SUBMISSION DEADLINE:
                                              [INSERT DATE]



                                              PROOF OF CLAIM
 On [DATE], the Court in this case granted final approval of settlements between Plaintiffs Andrew Corzo,
 Sia Henry, Alexander Leo-Guerra, Michael Maerlender, Brandon Piyevsky, Benjamin Shumate, Brittany
 Tatiana Weaver, and Cameron Williams (“Plaintiffs”) and the Settlement Class (defined below), on the one
 hand, and Defendants Brown University (“Brown”), University of Chicago (“Chicago”), The Trustees of
 Columbia University in the City of New York (“Columbia”), Trustees of Dartmouth College
 (“Dartmouth”), Duke University (“Duke”), Emory University (“Emory”), Northwestern University
 (“Northwestern”), William Marsh Rice University (“Rice”), Vanderbilt University (“Vanderbilt”), and
 Yale University (“Yale”) (together “Settling Defendants”), on the other. The settlement agreements are
 referred to herein as the “Settlements.” The Settlements are on behalf of a class of certain current and former
 students at seventeen universities (“Defendants” or “Defendant Universities”). The seventeen Defendants
 are the Settling Defendants plus the following schools: California Institute of Technology (“Caltech”),
 Cornell University (“Cornell”), Georgetown University (“Georgetown”, the Johns Hopkins University
 (“Johns Hopkins”), Massachusetts Institute of Technology (“MIT”), University of Notre Dame du Lac
 (“Notre Dame”), and the Trustees of the University of Pennsylvania (“Penn”).
 The Settlement Class is defined as:
                  a.       All U.S. citizens or permanent residents who have during the Class Period (a)
                  enrolled in one or more of Defendants’ full-time undergraduate programs, (b) received at
                  least some need-based financial aid from one or more Defendants, and (c) whose tuition,
                  fees, room, or board to attend one or more Defendants’ full-time undergraduate programs
                  was not fully covered by the combination of any types of financial aid or merit aid (not
                  including loans) in any undergraduate year.1 The Class Period is defined as follows:
                        i. For Chicago, Columbia, Cornell, Duke, Georgetown, MIT, Northwestern, Notre
                           Dame, Penn, Rice, Vanderbilt, Yale—from Fall Term 2003 through February 28,
                           2024.
                       ii. For Brown, Dartmouth, Emory—from Fall Term 2004 through February 28,
                           2024.
                      iii. For CalTech—from Fall Term 2019 through February 28, 2024.
                      iv. For Johns Hopkins—from Fall Term 2021 through February 28, 2024.

                  b.      Excluded from the Class are:
                       i. Any Officers2 and/or Trustees of Defendants, or any current or former employees


 1
   For the avoidance of doubt, the Class does not include those for whom the total cost of attendance, including
 tuition, fees, room, and board for each undergraduate academic year, was covered by any form of financial aid or
 merit aid (not including loans) from one or more Defendants.
 2
   For the avoidance of doubt, the Columbia University “Officers” excluded from the Class are members of the
 Senior Administration of Columbia University, and do not include exempt employees of Columbia University who
 are referred to as officers.
Case: 1:22-cv-00125 Document #: 703-13 Filed: 05/28/24 Page 3 of 9 PageID #:16032



                         holding any of the following positions: Assistant or Associate Vice Presidents or
                         Vice Provosts, Executive Directors, or Directors of Defendants’ Financial Aid
                         and Admissions offices, or any Deans or Vice Deans, or any employees in
                         Defendants’ in-house legal offices; and
                     ii. the Judge presiding over this action, his or her law clerks, spouse, and any person
                         within the third degree of relationship living in the Judge’s household and the
                         spouse of such a person.


Plaintiffs allege an antitrust conspiracy involving all seventeen Defendants. Defendants deny the allegations
and assert multiple defenses. The Court has not decided who is correct. Plaintiffs have resolved their claims
with the Settling Defendants for aggregate cash payments totaling $284,000,000.00 (the “Settlement
Fund”), and certain other relief. The case continues against the non-settling Defendants. The Court
appointed Angeion Group, LLC (“Angeion”) as the Claims Administrator. If Angeion was provided your
contact information from one or more of the Defendant(s), Angeion would have previously emailed or
mailed a notice to you indicating how you could access the long form notice of the Settlements (“Settlement
Notice”). The long form notice is available at www.financialaidantitrustsettlement.com. The Settlement
Notice summarizes both the litigation and the terms of the Settlements. The purpose of this Proof of Claim
or “Claim Form” is to ensure that members of the Settlement Class can participate in the distribution of the
$284 million Settlement Fund, less attorneys’ fees, expenses, administration costs, service awards approved
by the Court, and any taxes owed (“Net Settlement Fund”).
The Settlement Administrator, Angeion, in conjunction with Plaintiffs’ economic expert retained to assist
with the allocation process, EconOne, will determine the payment amount for each Settlement Class
member who submits a Claim Form (“Claimant”). Each Claimant’s pro rata share of the Net Settlement
Fund will be computed based on the formula set forth in the Revised Plan of Allocation (posted on the
Important Documents page of the Settlement website) and that the process will be consistent with the
Allocation Plan Process (posted on the Important Documents page of the Settlement website). In short, each
Claimant’s share will be determined based on (1) the average “Net Price”—the price of tuition, fees, room,
and board minus all need-based and other forms of aid (excluding loans)—charged by the Defendant
University (or Defendant Universities) the Claimant attended during the years (or fractions of years) the
Claimant attended during the Class Period, and (2) the total number of Claimants who submit timely and
valid Claim Forms.
Each Claimant must provide proof that he or she is a member of the Settlement Class in order to
receive a payment from the Net Settlement Fund.


                              PART 1: CLAIMANT IDENTIFICATION

  Notice ID # (If you received
 Notice of the Settlements via
   mail or email, please enter
   your Notice ID. If you did
   not receive a Notice, leave
                       blank):


                   First Name:


                   Last Name:
Case: 1:22-cv-00125 Document #: 703-13 Filed: 05/28/24 Page 4 of 9 PageID #:16033




                      Street 1:

                      Street 2:

                         City:

                        State:

                    Zip Code:

                     Country:


              Phone Number:

              Email Address:


   Confirm Email Address:


    Check this box if you had a different First Name or Last Name while attending a Defendant
     University. (If checked, the following fields appear)
     Previous First Name: _______________
     Previous Last Name: ________________

                        PART 2: SETTLEMENT CLASS MEMBERSHIP
2A: Check which Defendant University or Universities you attended at any point during the Class Period
for that Defendant or those Defendants. For reference, the Class Period for each Defendant University is
defined below (check all that apply):
         i. For Chicago, Columbia, Cornell, Duke, Georgetown, MIT, Northwestern, Notre Dame, Penn,
            Rice, Vanderbilt, Yale—from Fall Term 2003 through February 28, 2024.
        ii. For Brown, Dartmouth, Emory—from Fall Term 2004 through February 28, 2024.
       iii. For CalTech—from Fall Term 2019 through February 28, 2024.
       iv. For Johns Hopkins—from Fall Term 2021 through February 28, 2024.


      Brown University
      California Institute of Technology
      University of Chicago
      Columbia University
      Cornell University
      Dartmouth College
      Duke University
      Emory University
      Georgetown University
Case: 1:22-cv-00125 Document #: 703-13 Filed: 05/28/24 Page 5 of 9 PageID #:16034



       Johns Hopkins University
       Massachusetts Institute of Technology
       Northwestern University
       University of Notre Dame
       University of Pennsylvania
       Rice University
       Vanderbilt University
       Yale University
2B: For any point during the Class Period, did you receive need-based grants or scholarships from any of
the Defendant University(ies) you attended?
     Yes
     No
     Other (explain)




2C: When you received need-based grants or scholarships from a Defendant University or Universities,
were all of your costs for tuition, fees, room, and board covered by grants and/or scholarships?
       Yes, for all of the terms I attended the Defendant University(ies)
       Yes, for some (but not all) of the terms I attended Defendant University(ies)
       No
       Other (explain)




2D: For all of the terms in which you attended a Defendant University, received need-based grants or
scholarships, and your grants and/or scholarships did not cover the total cost of tuition, fees, room, and
board, were you a U.S. citizen or permanent resident?
       Yes, for all of the terms I attended the Defendant University(ies)
       Yes, for some (but not all) of the terms I attended Defendant University(ies)
       No
       Other (explain)
2E: If you were a U.S. citizen or permanent resident for all or some of the terms in which you received
need-based grants and/or scholarships, and your grants and/or scholarships did not cover the total cost of
tuition, fees, room, and board, please state which term(s) in which all of the following apply: (1) you
were a U.S. citizen or permanent resident, (2) you were receiving need-based financial aid, and (3) where
your scholarships and grants did not cover the total cost of tuition, fees, room, and board. For example,
Cornell – Fall Semester 2020, Spring Semester, 2021; Dartmouth – Fall Quarter 2021, Spring Quarter
2022.
Case: 1:22-cv-00125 Document #: 703-13 Filed: 05/28/24 Page 6 of 9 PageID #:16035




(Please select all years and terms in which all of the above apply.)


    ● Select University (drop-down) ● Select Year (drop-down) ● Select Academic Term
(drop-down)
   Click to Add Another Row
Drop-down options for the above will show as below:
● Select University (drop-down)

   •   Brown University
   •   California Institute of Technology
   •   University of Chicago
   •   Columbia University
   •   Cornell University
   •   Dartmouth College
   •   Duke University
   •   Emory University
   •   Georgetown University
   •   Johns Hopkins University
   •   Massachusetts Institute of Technology
   •   Northwestern University
   •   University of Notre Dame
   •   University of Pennsylvania
   •   Rice University
   •   Vanderbilt University
   •   Yale University

● Select Academic Term (drop-down)

   •   Fall Semester
   •   Spring Semester
   •   Fall Trimester
   •   Winter Trimester
   •   Spring Trimester
   •   Fall Quarter
   •   Winter Quarter
   •   Spring Quarter
   •   Summer Quarter


● Select Year (drop-down)

   •   2003
   •   2004
   •   2005
   •   2006
   •   2007
   •   2008
Case: 1:22-cv-00125 Document #: 703-13 Filed: 05/28/24 Page 7 of 9 PageID #:16036




    •   2009
    •   2010
    •   2011
    •   2012
    •   2013
    •   2014
    •   2015
    •   2016
    •   2017
    •   2018
    •   2019
    •   2020
    •   2021
    •   2022
    •   2023
    •   2024

2F: Are you an officer or trustee at a Defendant University? For the avoidance of doubt, the Columbia
University “Officers” excluded from the Class are members of the Senior Administration of Columbia
University, and do not include exempt employees of Columbia University who are referred to as officers.
     Yes
     No
2G: Are you, or were you ever, an employee holding any of the following titles at a Defendant University:
Assistant or Associate Vice Presidents or Vice Provosts, Executive Directors, or Directors of Defendants’
Financial Aid and Admissions offices, or any Deans or Vice Deans, or any employees in Defendants’ in-
house legal offices?
     Yes
     No
2H: Are you a law clerk of a law clerk to the Judge presiding over this lawsuit, Judge Matthew F. Kennelly?
     Yes
     No
2I: Are you a relative or spouse of a relative of Judge Matthew F. Kennelly within the third degree of
relationship and residing in the same household of the Judge?
     Yes
     No
                                       PART 3: VERIFICATION
Please upload one or more forms of proof of Settlement Class Membership supporting that you attended
one or more Defendant Universities during the Class Period:
Examples of acceptable proof of Settlement Class Membership may include: (1) a transcript showing your
attendance at a Defendant University during the Class Period; (2) a diploma showing your graduation from
a Defendant University during the Class Period; (3) a copy of a student ID with a date indicating it was
issued during the Class Period; (4) a receipt of payment of tuition, room, board, and/or fees to a Defendant
Case: 1:22-cv-00125 Document #: 703-13 Filed: 05/28/24 Page 8 of 9 PageID #:16037



University during the Class Period; or (5) your financial aid award letter from a Defendant University
during the Class Period.
For reference, the Class Period for each Defendant University is defined below (check all that apply):
         i. For Chicago, Columbia, Cornell, Duke, Georgetown, MIT, Northwestern, Notre Dame, Penn,
            Rice, Vanderbilt, Yale—from Fall Term 2003 through February 28, 2024.
        ii. For Brown, Dartmouth, Emory—from Fall Term 2004 through February 28, 2024.
       iii. For CalTech—from Fall Term 2019 through February 28, 2024.
       iv. For Johns Hopkins—from Fall Term 2021 through February 28, 2024.

The Claims Administrator may request additional documentation from any Settlement Class Member to
confirm membership.
                           UPLOAD SUPPORTING DOCUMENTATION
Select File for Upload: Choose File
File Description:




Add File
                                  PART 4: PAYMENT SELECTION
Please select from one of the following payment options:
                                             Payment Widget


                   PART 5: ATTESTATION UNDER PENALTY OF PERJURY
By signing below, you are further verifying under penalty of perjury that the information provided in this
proof of claim is accurate and complete.
By signing, you submit to the jurisdiction of the Court with respect to your claim and you
acknowledge that you shall be deemed to have, by the [DATE] Order Granting Final Judgment and
Order of Dismissal, Approving Settlements with Defendants Brown University, University of
Chicago, The Trustees of Columbia University in the City of New York, Trustees of Dartmouth
College, Duke University, Emory University, Northwestern University, William Marsh Rice
University, Vanderbilt University, and Yale University, and Granting Settlement Class Counsel’s
Motion for Service Awards for the Class Representatives, Reimbursement of Expenses, and
Attorneys’ Fees (“Final Approval and Judgment Order”) fully, finally, and forever waived, released,
relinquished, and discharged all Released Claims against the Released Parties, as defined in
Paragraph 19 of the Final Approval and Judgment Order, and in the Settlement Agreements, all of
which are posted on the Settlement Website, shall be forever enjoined from prosecuting in any forum
any Released Claims against any of the Releasees, and agree and covenant not to sue any of the
Releasees on the basis of any Released Claims.
      Case: 1:22-cv-00125 Document #: 703-13 Filed: 05/28/24 Page 9 of 9 PageID #:16038




I declare, under penalty of perjury, under the laws of the United States of America that the foregoing information
provided by the undersigned is true and correct and that this proof of claim was executed as follows:
______________________________________
(Signature)


At:         _______________________________________ _______________________________________
                       (City)                                           (State/Country)


Date:       Autopopulates

                            YOU MUST SUBMIT THIS CLAIM FORM BY [DATE].
      PLEASE DIRECT ANY QUESTIONS ABOUT THIS CLAIM FORM TO THE SETTLEMENT
                 ADMINISTRATOR BY DOING ONE OF THE FOLLOWING:
        •     Emailing: Info@FinancialAidAntitrustSettlement.com
        •     Calling the toll-free number, 1-(833) 585-3338
        •     Writing to: Financial Aid Antitrust Settlement, 1650 Arch Street, Suite 2210, Philadelphia,
              PA 19103
                ACCURATE PROCESSING OF CLAIMS MAY TAKE SIGNIFICANT TIME.
                            THANK YOU IN ADVANCE FOR YOUR PATIENCE.
